              Case 2:09-cr-00422-TLN Document 160 Filed 05/20/11 Page 1 of 4


 1   Robert M. Holley
     Attorney at Law
 2   State Bar No. 50769
     331 J Street, Suite 200
 3   Sacramento, California 95814
     Telephone: (916) 443-2213
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     Counsel for TEONA WILLIAMS
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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )         CRS 2:09-CR-0422 WBS
12                                   )
                     Plaintiff,      )         STIPULATION AND [PROPOSED]
13                                   )         ORDER CONTINUING STATUS
          v.                         )         CONFERENCE/ENTRY OF PLEA
14                                   )
     TEONA WILLIAMS,                 )
15                                   )
                     Defendant.      )
16   _______________________________ )
17
18                                   REASONS FOR REQUEST
19        This matter came on regularly for hearing on May 16, 2011 with the
20   parties presenting documents for the entry of a negotiated plea to an
21   individualized superseding information charging a single violation of
22   Title 18 U.S.C. Section 641, Theft of Government Property.                The
23   information was filed along with a waiver of indictment signed by Ms.
24   Williams, thus tolling the statute of limitations for that particular
25   count.     During the proceedings which followed, the Court expressed some
26   concerns regarding accepting Ms. Williams’ guilty plea.             The matter was
27   continued one week to Monday, May 23, 2011 at 8:30 a.m. for further
28   proceedings.
              Case 2:09-cr-00422-TLN Document 160 Filed 05/20/11 Page 2 of 4


 1                The defense and the prosecution have met and conferred
 2   regarding the Court’s concern about this tendered entry of plea.                 The
 3   parties have discussed the viability of gathering some additional
 4   evidence in connection therewith and making the appropriate changes in
 5   the plea documents with the object to address the Court’s concerns.
 6   The process, however, is going to take some time as Ms. Hobler will be
 7   in trial before Judge England, on the case of U.S. v. Egiazarian, 2:08-
 8   CR-427 from May 31, 2011 to approximately June 29, 2011.              The Court’s
 9   next available date following that trial is July 11, 2011 at 8:30 a.m.
10   Counsel for Ms. Williams also seeks the time to review the issues
11   raised by the Court with his client.           The parties jointly request that
12   this matter be continued to that date and time for status/change of
13   plea.
14                Ms. Williams has made all of her appearances both before the
15   U.S. District Court and for the “Better Choices” program in the United
16   States Magistrate’s Court.        In fact, she is presently the one and only
17   completely successful candidate in that program.            She is a single
18   mother of two small children living in Sacramento County.                 She has been
19   in constant contact with her counsel.          This requested continuance will
20   not prejudice either party and is hereby made with the intention of
21   aiding the Court in this dispositional process.
22                The request is made that this continuance be completed by
23   this writing without appearance as Ms. Williams has a medical procedure
24   scheduled on the morning of June 23, 2011 for which rescheduling would
25   be difficult.
26                                        STIPULATION
27           For the reasons set forth above, it is hereby stipulated by and
28   between the parties hereto through their respective counsel that the


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           Case 2:09-cr-00422-TLN Document 160 Filed 05/20/11 Page 3 of 4


 1   date presently scheduled for the next appearance in this case be

 2   continued from Monday, May 23, 2011 at 8:30 a.m. to Monday, July 11,

 3   2011 at 8:30 a.m. status/entry of plea.

 4        The parties further stipulate that all time included in this

 5   continuance be excluded under the Speedy Trial Act, pursuant to 18

 6   U.S.C. Section 3161(h)(8)(B)(ii)(Local Codes T2 and T4) through

 7   February 8, 2011, on the ground that the case is unusual and complex

 8   within the meaning of the Speedy Trial Act, for defense preparation,

 9   and gathering of evidentiary material which may effect a possible entry

10   of plea herein, all pursuant to 18 U.S.C. Section 3161(h)(8)(B)(ii) and

11   (iv)(Local Codes T2 and T4).

12        Dated: May 18, 2011

13                               /s/ Ms. Jean Hobler (by RMH)
                                 Assistant United States Attorney
14                               Counsel the United States

15
16                               /s/ Mr. Robert M. Holley, Esq.
                                 MR. ROBERT M. HOLLEY, Esq.
17                               Counsel for Ms. Williams

18
19                               ORDER

20
          GOOD CAUSE APPEARING, the above calendaring change with respect to
21
     the defendant’s scheduled status conference/entry of plea, with the
22
     stipulated provisions for exclusion of time under the Federal Speedy
23
     Trial Act IS SO ORDERED.     The Court finds the ends of justice outweigh
24
     the interests of the public and the defendant in a speedy trial.       The
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     Status Conference is continued from May 23, 2011 at 8:30 a.m. to
26
     Monday, July 11, 2011 at 8:30 a.m.
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      Case 2:09-cr-00422-TLN Document 160 Filed 05/20/11 Page 4 of 4


 1   Dated: May 19, 2011

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